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11
     Attorneys for Defendant Arizona Secretary of State Katie Hobbs
12
13                                UNITED STATES DISTRICT COURT
14                                     DISTRICT OF ARIZONA
15   Tyler Bowyer; Michael John Burke; Nancy             No. CV-20-02321-PHX-DJH
     Cottle; Jake Hoffman; Anthony Kern;
16   Christopher M. King; James R. Lamon; Sam
     Moorhead; Robert Montgomery; Loraine
17   Pellegrino; Greg Safsten; Salvatore Luke            DEFENDANT ARIZONA
     Scarmardo; Kelli Ward; and Michael Ward,            SECRETARY OF STATE KATIE
18                                                       HOBBS’ AND MARICOPA
19                      Plaintiffs,                      COUNTY INTERVENORS’
                                                         MOTION TO STRIKE FACT
20   v.                                                  WITNESS TESTIMONY AND
                                                         EVIDENTIARY OBJECTIONS
21   Doug Ducey, in his official capacity as
     Governor of the State of Arizona; and Katie
22   Hobbs, in her official capacity as Arizona
     Secretary of State,
23
                        Defendants.
24
25   Maricopa County Board of Supervisors; and
     Adrian Fontes, in his official capacity as
26   Maricopa County Recorder,
27                      Intervenors.
28
     {00526189.2 }
     7775568v1/017030
 1                                              Motion to Strike
 2                   Plaintiffs’ Complaint (Doc. 1) incorporates by reference affidavits from a
 3   collection of fact witnesses, and those witnesses’ testimony is also incorporated by
 4   reference into Plaintiffs’ TRO application and motion for preliminary objection. The
 5   affidavits from Plaintiffs’ purported percipient witnesses are irrelevant, inadmissible, and
 6   devoid of any evidentiary value for the drastic relief they seek by their motion. They do
 7   not provide any plausible support for Plaintiffs’ complaint, for the unprecedented relief
 8   they seek in this action, or for their motion.
 9                   In advance of the meet and confer the parties held on December 6, 2020 in
10   accordance with the Court’s minute order of December 4, 2020, Plaintiffs initially
11   identified 17 fact witnesses that they said they “may” call at the evidentiary hearing.
12   Defendants promptly pointed out the obvious impossibility of calling this many fact
13   witnesses (to say nothing of Plaintiffs’ six expert witnesses) during their one-hour portion
14   of the hearing. Plaintiffs responded that, if the evidentiary hearing proceeds as scheduled
15   on Thursday, December 10, 2020, they would offer no live fact witnesses, and instead
16   would submit any fact witness testimony through declarations of the ten proposed
17   witnesses from whom they had produced affidavits. During the meet and confer, Plaintiffs
18   also indicated that they would make any witness for whom testimony is presented by
19   affidavit available for live cross-examination, but given the limited time allocations
20   Defendants and Defendant Intervenors would be severely prejudiced if Plaintiffs
21   introduce all of their direct testimony through declarations and require Defendants and
22   Defendant Intervenors to use all of their time to cross them.
23                   While Defendants and Defendant Intervenors do not believe there is any need to
24   consider testimony from any of Plaintiffs’ witnesses, they object to Plaintiffs’ demand to
25   introduce their witness testimony by declaration for the reasons stated below.
26   A.              Dominion-Related Witnesses
27                   1.    “Venezuela Smartmatic Affidavit” (Doc. 1-2, Ex. 1). As their lead
28   witness, plaintiffs offer this redacted affidavit from an undisclosed person who claims to

     {00526189.2 }                                     -1-
 1   have had some involvement in rigging elections in Venezuela who claims to be “of sound
 2   mind.” Id. ¶ 1. The first nineteen paragraphs are focused on elections in Venezuela using
 3   voting machines made by a company called “Smartmatic.” Id ¶¶ 2-19. After a brief foray
 4   into other Latin American countries, id. ¶ 20, the affiant then asserts that “the Smartmatic
 5   software is in the DNA of every vote tabulating company’s software and system,”
 6   including Dominion. Id. ¶ 21. No foundation is offered for these conclusory assertions,
 7   and the witness does not purport to have first-hand knowledge of what s/he says.
 8                   The witness then asserts that “Dominion and Smartmatic did business together,”
 9   that Dominion software has “fundamental flaws” that provide “opportunities to corrupt
10   the data, and that “[t]he software decides the result regardless of what the voter votes.”
11   Id. ¶¶ 22-23. Again, the witness does not state anything that could support an inference
12   that s/he is qualified to assess Dominion’s software or that s/he has any first-hand
13   knowledge regarding Dominion software. The testimony appears to be pure speculation.
14                   The affiant then returns to another discussion of events in Venezuela that bear no
15   logical connection to an election in the United States. Id. ¶¶ 24-25. And then, finally, the
16   affiant reaches the 2020 election in the United States, stating that s/he was “alarmed” as
17   election results were announced and somehow found them to be “eerily reminiscent” of
18   Venezuela. Id ¶ 26. According to the witness’s sworn testimony, “vote counting was
19   stopped,” and “[t]hen during the wee hours of the morning, when there was no voting
20   occurring and the vote count reporting was off-line, something significantly changed.”
21   Id. The witness asserts that “the very next morning there was a very pronounced change
22   in favor of the opposing candidate, Joe Biden.” Id. It’s unclear how the witness could
23   possibly have any foundation for this statement, let alone for making it under oath and
24   under penalty of perjury, if it is intended to pertain to the election results in Arizona—in
25   Arizona, Joe Biden of course was leading by more than 90,000 votes on election night,
26   and that lead diminished as additional votes were counted over the ensuing days.
27
28

     {00526189.2 }                                       -2-
 1                   None of this is conceivably relevant or admissible under FRE 401-403, and none
 2   of it provides any basis to question the fairness and accuracy of the presidential election
 3   results in Arizona and should be struck.
 4                        2. “TM” (Doc. 1-5, Exh 13).
 5                   In similarly opaque fashion, the TM declaration is anonymous and thus
 6   inadmissible on its face. During the parties’ meet and confer, Counsel for the Secretary
 7   asked for any caselaw supporting the admissibility of an anonymous fact witness and
 8   Plaintiffs could provide none. That should be the end of the inquiry. Even if the Court
 9   can somehow ignore this critical flaw, the substance of the declaration bears no
10   connection to the allegations in Plaintiffs’ Complaint. Its central thesis is that there are
11   backdoors in certain voting machines that allow people to change votes using
12   algorithms, and that this happened in Michigan, Arizona, Georgia, and Wisconsin.
13   There is also testimony that President Obama and President-Elect Joe Biden colluded to
14   rig elections in an unnamed county. The declarant has no meaningful or discernable
15   qualifications to opine on any of the subjects of their report, nor do they employ any
16   accepted methodology. In fact, they lack any personal knowledge of the theories
17   disclosed.
18                   None of this is conceivably relevant or admissible under FRE 401-403, and none
19   of it provides any basis to question the fairness and accuracy of the presidential election
20   results in Arizona and should be struck.
21                   3.      Joseph Oltmann (Doc. 1-3, Ex. 6). Mr. Oltmann lives in Colorado and
22   describes himself as the founder of an organization that seeks “to restore constitutional
23   integrity to our community and empower those in our community to stand up to state
24   and national leadership that intends to suppress the rights of individuals holistically.” Id.
25   at 1. He states that he seeks to “infiltrate Antifa meetings and de-mask those Antifa
26   members who are journalists in the mainstream media in Colorado specifically.” Id. Mr.
27   Oltmann than recounts several out-of-court statements he claims to have heard someone
28   named “Eric” who was allegedly affiliated with Dominion Voting Systems say at an

     {00526189.2 }                                      -3-
 1   Antifa meeting he claims to have infiltrated, during which this person allegedly
 2   expressed antipathy towards President Trump and skepticism as to his prospects in the
 3   election. Id. at 2.
 4                   Mr. Oltmann claims that, after the election, he learned that a person named Eric
 5   Coomer was affiliated with Dominion Voting Systems in some capacity, and that he
 6   then conducted a review of Mr. Coomer’s social media, during which he found
 7   additional out-of-court statements expressing antipathy towards President Trump. Id. at
 8   4. The purported statements of Mr. Coomer that Mr. Oltmann recounts are hearsay, and
 9   thus inadmissible under FRE 801-803. Further, Mr. Oltmann does not purport to have
10   any first-hand knowledge about Mr. Coomer’s role at Dominion, any alleged
11   manipulation of Dominion voting machines, or the impact of any such manipulation on
12   the election. He offers only vague speculation on those subjects. That speculation is
13   inadmissible and irrelevant under FRE 401-403. And Mr. Oltmann’s statement is
14   subject to FRE 403 for the further reason that he does not say anything at all about
15   Arizona.
16                   4.    Ana Mercedes Diaz Cardozo (Doc. 1-3, Ex. 8). This witness discusses
17   her involvement in elections and with election equipment in Venezuela, and elsewhere
18   in South and Central America, and her studies of elections in those parts of the world.
19   Based on her studies, the witness believes it is important that election systems have
20   “processes and mechanisms designed to prevent voting manipulation and fraud.” Id. ¶
21   17. She discusses her knowledge of Venezuela’s use of an election management system
22   called “Smartmatic” in 2004, id. ¶ 10, but she draws no connection between that system
23   and anything in the United States at any time, let alone currently. She does not mention
24   Arizona, and does not appear to have anything relevant to say pertaining to Plaintiffs’
25   claims or the relief Plaintiffs seek. Her testimony is irrelevant and inadmissible under
26   FRE 401-403.
27                   5.    Harri Hursti (Doc. 1-14, Ex. 7). This is a copy of a thirty-four-page
28   declaration, plus exhibits, that apparently was filed in a prior case in Georgia. It relates to

     {00526189.2 }                                       -4-
 1   the configuration and operation of Dominion voting machines in Georgia, suggests the
 2   machines and software were potentially vulnerable to manipulation or error in certain
 3   respects, and suggests ways to improve them. The statement says nothing about Arizona,
 4   and it draws no connection between the systems and software used in Georgia and that
 5   used in Arizona. The statement is irrelevant and inadmissible under FRE 401-403.
 6                   6.    Ronald Watkins (Doc. 1-6, Ex. 14). Mr. Watkins purports to walk through
 7    the Dominion voting system with citation to various documents. But beside saying he
 8    has “nine years of experience as a network and information defense analyst,” he provides
 9    no information about his employment or background. Accordingly, he does not establish
10    any qualifications whatsoever for offering his opinion on the Dominon voting system,
11    and his declaration should not be permitted.
12   B.              Arizona-Specific Witnesses
13                   7.    Greg Wodynski. (Doc. 1-10, Ex. 22). Mr. Wodynski claims to have been
14   a “Digital Adjudication Observer” in Maricopa County. Mr. Wodynski states that a
15   Dominion employee named “Bruce” told him that he could not validate the chain of
16   custody for a “daily second disk backup” (i.e., not the original ballots, the original
17   electronic case of the ballots, and not the first backup of that scan). Id. ¶¶ 11-12. Mr.
18   Wodynski also expressed concerns about “Bruce’s” handling of certain data files. Id. ¶
19   13. Mr. Wodynski does not claim to have knowledge of any illegal vote that was counted
20   or any lawful vote that was not, and he does not claim that the Dominion voting machines
21   and software actually were manipulated or compromised in any way. Thus, Mr.
22   Wodynski’s statement does not seem to have any relevance that would support its
23   admissibility under FRE 401-03. And the statements he attributes to “Bruce” are hearsay.
24   FRE 801-03. According, the testimony should not be permitted.
25                   8.    Diane Serra (Doc. 1-3, Ex. 5). Ms. Serra claims she was a poll observer
26   in Maricopa County. She expresses concern that she was able to provide only “less than
27   effective” oversight and “no meaningful oversight” in the signature verification room
28   and the envelope separation room on two separate days, and that she was physically

     {00526189.2 }                                      -5-
 1   distanced from bi-partisan poll workers and election officials who were administering
 2   the election. Id. She also states that she “felt unwelcome” at one polling location after
 3   expressing her interest in “Big Band music,” while indicating that another polling site
 4   she observed had a relatively “friendly atmosphere.” Id. at 3. At one polling location she
 5   observed voters having issues with “over-votes” in an unspecified race and apparently
 6   had some question in her mind as to whether the poll workers provided appropriate
 7   guidance. Id. at 4. She had some involvement in identifying ballots to be included in the
 8   “hand count” audit at a polling location, and further states the hand count in that
 9   location was limited to ballots cast on election day.” Id. at 5. Finally, Ms. Serra
10   speculates that someone could have manipulated the Election Day votes if they had
11   known they would not be included in the audit. Id. at 5. The last statement is
12   objectionable under FRE 401-403 as Ms. Serra does not purport to have knowledge of
13   any vote manipulation and is merely speculating. Because Ms. Serra does not identify
14   any basis for concluding any illegal vote was counted or any lawful vote was not, her
15   statement does not have any relevance to the Complaint or the requested relief and
16   should not be permitted.
17                         9. Judith Burns (Doc. 1-10, Ex. 21). Ms. Burns claims she was a poll
18   observer in Maricopa County on October 20-21 (at the Maricopa County Tabulation and
19   Election Center) and October 28, 2020 (in Surprise). Id. ¶ 1. Ms. Burns describes how
20   far away she was from the tables where poll workers were conducting signature
21   verifications, and states that she observed that there was one Republican and one
22   Democrat at each table that were verifying signatures. Id. ¶ 2. She indicates that poll
23   workers explained various aspects of their process. Id. And, when she worked at the
24   Surprise location, there was some difficulty sealing envelopes. Id. ¶ 3. Ms. Burns’
25   testimony is not relevant to the claims in the complaint or the relief Plaintiffs seek, and
26   it is thus inadmissible under FRE 401-403 and should not be permitted.
27                   10.      Linda Brickman (Doc. 1-10, Ex. 23). Ms. Brickman is the 1st Vice Chair
28   of the Maricopa County Republican Party. Doc. 1 at Ex. 23. Ms. Brickman attended the

     {00526189.2 }                                        -6-
 1   post-election “Logic & Accuracy” certification of Dominion machines on November
 2   18, 2020. Id. She states there initially were some problems with the machines in
 3   Maricopa County. Doc. 1 at 2. Apparently, the problems were resolved, and the
 4   machines functioned properly during a second test. Id. at 3. Ms. Brickman nonetheless
 5   declined to sign the certification. Id. Ms. Brickman also describes various issues she
 6   claims to have observed while working as a poll worker, including signature matching
 7   standards that she viewed as inconsistent, handwriting that she considered to be the
 8   same on multiple envelopes, and a duplicate ballot created as a replacement for a
 9   spoiled ballot that was erroneously read by the tabulation machine as a Biden ballot
10   rather than a Trump ballot (Ms. Brickman states that she is unaware whether the error
11   was corrected). Id. at 4-5. Ms. Brickman also was disappointed that there were not more
12   observers allowed. Id. at 5. Finally, Ms. Brickman states than an unspecified number of
13   ballots were rejected as “overvotes” when voters both filled in the bubble for a
14   candidate and wrote in the candidate’s name. Id.
15                   Ms. Brickman does not provide evidence of any problem with Dominion voting
16   machines on Election Day. She does not claim fraud. She does not identify any number
17   of illegal votes cast or legal votes uncounted that could call into question the results of
18   the election. And she does not identify what, if anything, she did to attempt to address
19   the issues she claims to have identified on Election Day. Her testimony is not relevant to
20   the Complaint or the relief Plaintiffs seek and is thus inadmissible under FRE 401-403.
21                   11.   Mark Low (Doc. 1-10, Ex. 20). Mr. Low claims he was an election
22   observer. Mr. Low’s first ten paragraphs recount various observations and interactions
23   on October 25. Id. at 1-10 (e.g., he says a poll worker smiled “behind her mask” when
24   ask for whom she had voted, he states that a Dominion worker was a Republican who
25   encouraged him to trust the process, some of the referees were registered independents,
26   and he speculates that the computer system could be hacked based on his experience
27   watching Mission Impossible). It’s unclear why any of them would be relevant to
28   anything. Mr. Low then explains that, on Election Day, he learned that a Dominion

     {00526189.2 }                                    -7-
 1   worker brought a “back up copy” of the “voter file” back to his hotel. Id. at 22. Mr. Low
 2   also had various concerns about the handling of overseas ballots. Id. at 24-30. Mr. Low
 3   does not claim any knowledge relating to Plaintiffs’ claim that the Dominion machines
 4   were compromised; he does not identify any illegal votes that were cast; and he does not
 5   claim that he observed anyone doing anything nefarious. His testimony does not support
 6   Plaintiffs’ claims or the relief they seek, and so is inadmissible under FRE 401-403.
 7                                          Evidentiary Objections
 8                   The Secretary and the Maricopa County Intervenor-Defendants hereby assert the
 9   following, specific objections to Plaintiffs’ exhibits. The Secretary and County note that
10   as the majority of Plaintiffs’ exhibits are either purported expert reports or witness
11   affidavits, the Secretary has addressed the former via concurrently filed Daubert motions,
12   and the latter via concurrently filed motions in limine.
13     Exhibit                                                       Evidentiary Objections
14      No.

15     1                Redacted – Venezuela Smartmatic       The Secretary has enumerated her
                        Affidavit 11.116.2020                 objections to Plaintiffs’ fact witness
16
                                                              affidavits via motions to strike
17                                                            submitted concurrently herewith.
18     2                Absentee Survey Analysis – Briggs     The Secretary has filed a Daubert
19                      Rpt.                                  motion that addresses her objections
                                                              to this report.
20
21     2A               Absentee Survey Wisconsin Analysis    The Secretary has filed a Daubert
                        – Briggs Rpt. Re Attachment AZ        motion that addresses her objections
22                                                            to this report.
23     2B               Briggs – attachment GA re 5 state     The Secretary has filed a Daubert
24                      Rpt. Absentee Live ID Topline         motion that addresses her objections
                                                              to this report.
25
26     2C               Briggs – attachment PA re 5 state     The Secretary has filed a Daubert
                        Rpt. Absentee Live Topline            motion that addresses her objections
27                                                            to this report.
28

     {00526189.2 }                                     -8-
 1     2D            Briggs – Attachment WI Unreturned     The Secretary has filed a Daubert
                     Live Agent Topline [26655]            motion that addresses her objections
 2
                                                           to this report.
 3
       2E            Briggs – Attachment MI Unreturned     The Secretary has filed a Daubert
 4                   Live Agent Topline                    motion that addresses her objections
 5                                                         to this report.

 6     3             Re Braynard                           The Secretary has filed a Daubert
 7                                                         motion that addresses her objections
                                                           to this report.
 8
       4             Brian Teasley – Statistician          The Secretary has filed a Daubert
 9                                                         motion that addresses her objections
10                                                         to this report.

11     5             Diane Serra Declaration (3 sep pdfs   The Secretary has enumerated her
12                   for pages 1-3)                        objections to Plaintiffs’ fact witness
                                                           affidavits via motions to strike
13                                                         submitted concurrently herewith.
14
       6             Joseph Oltmann Affidavit              The Secretary has enumerated her
15                                                         objections to Plaintiffs’ fact witness
                                                           affidavits via motions to strike
16                                                         submitted concurrently herewith.
17
       7             Harri Hursti Declaration Doc 809 US   The Secretary has enumerated her
18                   DIST CT 3 8-24-20                     objections to Plaintiffs’ fact witness
                                                           affidavits via motions to strike
19
                                                           submitted concurrently herewith.
20
       8             Affidavit of Anna Mercedes Diaz       The Secretary has enumerated her
21                   Cardozo in ENGLISH                    objections to Plaintiffs’ fact witness
22                                                         affidavits via motions to strike
                                                           submitted concurrently herewith.
23
       9             Keshel Expert Affidavit               The Secretary has enumerated her
24
                                                           objections to Plaintiffs’ fact witness
25                                                         affidavits via motions to strike
                                                           submitted concurrently herewith.
26
27     9 A&B         Keshel Expert attachment              The Secretary has filed a Daubert
                                                           motion that addresses her objections
28                                                         to this report.
     {00526189.2 }                                  -9-
 1
 2     10            Andrew W. Appel, et al., “Ballot        FRE 401, 403, 802
                     Marking Devices (BMDs) Cannot
 3                   Assure the Will of the Voters” at
                     (Dec. 27, 2019)
 4
 5     11            State of Texas Secretary of State       FRE 401, 403, 802
                     Report of Review 20 //an 11B
 6
 7     12            “Spider” Affidavit Redacted             The Secretary has filed a Daubert
                                                             motion that addresses her objections
 8                                                           to this report.
 9
       13            Declaration TPM 11 30 20 Redacted       The Secretary has enumerated her
10                                                           objections to Plaintiffs’ fact witness
                                                             affidavits via motions to strike
11                                                           submitted concurrently herewith.
12
       14            Declaration of Ronald Watkins 11 26     The Secretary has enumerated her
13                   20                                      objections to Plaintiffs’ fact witness
                                                             affidavits via motions to strike
14
                                                             submitted concurrently herewith.
15
       15            Congresswoman Maloney letter re         FRE 401, 403, 802
16                   Smartmatica
17
       16            Senators Warren etc. letter re          FRE 401, 403, 802
18                   Dominion Voting Systems
19
       17            Ramsland Declaration                    The Secretary has filed a Daubert
20                                                           motion that addresses her objections
                                                             to this report.
21
22     18            Joint FBI CISSA Cyber Security          FRE 401, 403, 802
                     Advisory Exhibit
23                   [2305843009225631231]
24
       19            Matthew Bromberg, PhD Declaration       The Secretary has filed a Daubert
25                   11 30 20                                motion that addresses her objections
                                                             to this report.
26
27     20            Mark Low Declaration                    The Secretary has enumerated her
                                                             objections to Plaintiffs’ fact witness
28

     {00526189.2 }                                    -10-
 1                                                        affidavits via motions to strike
                                                          submitted concurrently herewith.
 2
 3     21            Burns Decl Declaration               The Secretary has enumerated her
                                                          objections to Plaintiffs’ fact witness
 4                                                        affidavits via motions to strike
 5                                                        submitted concurrently herewith.

 6     22            Linda Brickman Declaration           The Secretary has enumerated her
 7                                                        objections to Plaintiffs’ fact witness
                                                          affidavits via motions to strike
 8                                                        submitted concurrently herewith.
 9     23            Burns Decl Declaration               The Secretary does not understand
10                                                        how this exhibit differs from
                                                          Plaintiffs’ Exhibit No. 21, the
11                                                        objections to which she incorporates
12                                                        by reference.

13     24            Dr. Briggs Rebuttal                  The Secretary has filed a Daubert
                                                          motion that addresses her objections
14                                                        to this report.
15
       25            Brian Teasley CV / Rebuttal          The Secretary has filed a Daubert
16                                                        motion that addresses her objections
17                                                        to this report.

18     26            Ramsland CV and sources              The Secretary has filed a Daubert
                                                          motion that addresses her objections
19
                                                          to this report.
20
       27            Phil Waldron CV and sources          The Secretary has filed a Daubert
21                                                        motion that addresses her objections
22                                                        to this report.

23     28            Spider Sources, 3 documents          The Secretary has filed a Daubert
                                                          motion that addresses her objections
24
                                                          to this report.
25
       29            Dominion Maricopa contract           FRE 401, 403, 802, 901a, 1002
26
27     30            Dominion User Manual                 FRE 401, 403, 802, 901a, 1002

28

     {00526189.2 }                                 -11-
 1     31                Staple street SEC Offering Form-D     FRE 401, 403, 802, 901a, 1002
                         Report
 2
 3
 4
                     Respectfully submitted this 7th day of December, 2020.
 5
 6
                                                      COPPERSMITH BROCKELMAN PLC
 7                                                    By s/ Roopali H. Desai
                                                            Roopali H. Desai
 8                                                          D. Andrew Gaona
                                                            Kristen Yost
 9
10                                                    SUSMAN GODFREY L.L.P.
11                                                         Justin A. Nelson
                                                           Stephen E. Morrissey
12                                                         Stephen Shackelford
                                                           Davida Brook
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14                                                    Attorneys for Defendant Arizona Secretary of
                                                      State Katie Hobbs
15
16                                                    ALLISTER ADEL
                                                      MARICOPA COUNTY ATTORNEY
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18                                                        Emily Craiger
                                                          Joseph I. Vigil
19                                                        Joseph J. Branco
                                                          Joseph E. LaRue
20
                                                          Attorneys     for   Maricopa      County
21                                                        Defendants

22
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